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 1                                                          THE HONORABLE THERESA L. FRICKE
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
     TATIANA WESTBROOK, an individual;
10   JAMES WESTBROOK, an individual; HALO
     BEAUTY PARTNERS, LLC, a Nevada Limited NO. 2:20-cv-01606-TLF
11   Liability Company,
12                                  Plaintiffs,             DECLARATION OF MICHAEL J.
                                                            SALTZ IN SUPPORT OF PLAINTIFFS’
13          v.                                              MOTION FOR AN ORDER TO
                                                            PRESERVE EVIDENCE
14   KATIE JOY PAULSON, an individual;
     WITHOUT A CRYSTAL BALL, LLC, a
15   Minnesota Limited Liability Company; and               NOTE ON MOTION CALENDAR:
     DOES 1 through 100, inclusive,                         DECEMBER 18, 2020
16
                                    Defendants.
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19          I, Michael J. Saltz, hereby state as follows:
20          1.      I am an attorney admitted pro hac vice to appear before the U.S. District Court for
21   the Western District of Washington in the above-captioned matter, and am a partner of Jacobson,
22   Russell, Saltz, & Nassim & De la Torre, LLP, counsel for Plaintiffs Tatiana Westbrook, James
23   Westbrook, and Halo Beauty Partners, LLC in this matter. I am over the age of eighteen and am
24   competent to testify to the facts alleged herein.
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                                                         CARROLL, BIDDLE, & BILANKO, PLLC
     DECLARATION OF MICHAEL J.                                    1000 2nd Avenue, Suite 3100
     SALTZ IN SUPPORT OF PLAINTIFFS’                                  Seattle, WA 98104
     MOTION FOR AN ORDER TO
     PRESERVE EVIDENCE -1
     (2:20-CV-01606-TLF)
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 1           2.      Within a half hour of the Complaint being filed on Friday, October 30, 2020, I
 2   sent a copy of the Complaint and a preservation of evidence notice to Defendant Katie Joy
 3   Paulson via email. The preservation of evidence notice expressly instructed Defendants to
 4   preserve published content related to my clients, including without limitation “social media
 5   posts; comments on social media posts and videos; and videos, live chats; direct messages;
 6   instant messages; e-mails; phone messages; [and] text messages.” The notice further requested
 7   that Defendants “preserve as evidence any content related to, or regarding [my clients] in any
 8   way that you posted to or published on any internet platform including, but not limited to
 9   Instagram, Twitter, and YouTube.” Finally, the notice informed Defendants that their failure to
10   preserve such documents and evidence “may result in evidentiary or other sanctions being
11   imposed against [them].” Attached as Exhibit A is a true and correct copy of the October 30,
12   2020 email to Defendant Paulson.
13           3.      At 7:23am on Saturday, October 31, 2020, I received an email from Defendant
14   Paulson’s Minnesota attorney referencing this lawsuit and requesting that all further
15   communications be directed to him. Attached as Exhibit B is a true and correct copy of the
16   email received on October 31, 2020.
17           4.      Defendants, after receiving the evidence preservation notice and Complaint,
18   began deleting their videos and other online content related to my clients, including specific
19   content referenced in the Complaint, from various online platforms, such as YouTube, Facebook,
20   and Twitter. Attached as Exhibit C are examples and evidence of Defendants’ deletions that I
21   personally acquired between October 30 and the date of the execution of this declaration.
22           5.      These mass deletions began immediately after I sent the preservation of evidence
23   notice and Complaint to Defendant Paulson on October 30, 2020. This conduct has continued as
24   of the date of filing this declaration.
25
26
                                                      CARROLL, BIDDLE, & BILANKO, PLLC
     DECLARATION OF MICHAEL J.                                   1000 2nd Avenue, Suite 3100
     SALTZ IN SUPPORT OF PLAINTIFFS’                                 Seattle, WA 98104
     MOTION FOR AN ORDER TO
     PRESERVE EVIDENCE -2
     (2:20-CV-01606-TLF)
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 1          6.       In fact, my office was in the process of documenting tweets on Defendant
 2   Without A Crystal Ball’s Twitter page and witnessed the disappearance of tweets related to my
 3   clients. In addition to actually witnessing some of these deletions, we also observed tweets by
 4   others calling attention to Defendants’ sudden deletions of content on their various social media
 5   platforms.
 6          7.       Then at some point over the Halloween weekend, Defendant Without A Crystal
 7   Ball’s entire Twitter account was deactivated. By November 2, 2020, the Twitter account had
 8   been reactivated; however, at least 37 tweets had been deleted. Similarly, by November 2, 2020,
 9   Defendant Paulson had deleted every tweet prior to September 13, 2019 on her personal Twitter
10   account, @Katiejoyyt, which has been active since 2015.
11          8.       Once tweets are deleted, they are permanently lost, along with any analytic data
12   or other information that could be gleaned from such online postings, including the number of
13   people who saw the tweets, how many people spread it through re-tweets, and the identity of the
14   people who published potentially defamatory information.
15          9.       Likewise, Defendants also deleted Facebook posts and comments and YouTube
16   videos after receiving the evidence preservation notice and Complaint.
17          10.      Like Twitter, once Facebook posts or comments are deleted, they cannot be
18   recovered, and any analytic data or other information that could be gleaned from such comments
19   and postings is forever lost.
20          11.      Similarly, the deletion of YouTube videos permanently removes all chats,
21   comments, and other information related to the videos, including the number of views and
22   Defendants’ own comments containing additional defamatory statements. Such information
23   cannot be recovered even if the video itself is recovered.
24          12.      I have personal experience with the way YouTube channels work. My personal
25   experience derives from the fact that I currently represent multiple YouTube channels, including
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                                                        CARROLL, BIDDLE, & BILANKO, PLLC
     DECLARATION OF MICHAEL J.                                    1000 2nd Avenue, Suite 3100
     SALTZ IN SUPPORT OF PLAINTIFFS’                                  Seattle, WA 98104
     MOTION FOR AN ORDER TO
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 1   a YouTube channel that, in 2019, was the largest and most successful YouTube content provider
 2   in the world, and my representation involves issues with regard to the management of the
 3   analytics related to my clients’ pages. I also have personal experience managing the technical
 4   aspects of a YouTube page for a family member and have personally interacted with YouTube
 5   with regard to deleting and privatizing videos that have been uploaded to YouTube for a specific
 6   page and channel.
 7          13.     When a video is uploaded to a channel on the YouTube platform, YouTube
 8   immediately starts to collect data on users’ interactions with that video. Some interactions occur
 9   by way of allowing users to leave comments on the video page. Other interactions, such as
10   views and activity related to views, are also tracked. This tracking is called analytics. The
11   analytics for each video uploaded to a YouTube channel are unique to that particular video and
12   include the number of views, the number of times viewers remained viewing a video, the
13   geographic location of certain viewers, and how viewers accessed said video. For a monetized
14   channel, the analytics also will include revenue information with regard to how much money a
15   particular video has generated for the channel owner.
16          14.     Once a video is uploaded to a channel on the YouTube platform, the channel
17   owner can make the video public or private, or can delete it. YouTube will maintain all
18   comments and analytics for all uploaded videos to a channel regardless of whether they are
19   public or private. However, once a video is deleted from the YouTube platform, all such
20   comments and analytics are destroyed and permanently lost for that particular video.
21          15.     I also have a personal Twitter page and am familiar with the workings of Twitter
22   as a result of my managing the same and as a result of litigating cases involving Twitter and
23   efforts to retrieve deleted information in other litigation matters.
24          16.     Twitter allows an account holder to post tweets (i.e. “statements”) on their own
25   Twitter page and on the pages of other users—which tweets also will be accessible through that
26
                                                         CARROLL, BIDDLE, & BILANKO, PLLC
     DECLARATION OF MICHAEL J.                                       1000 2nd Avenue, Suite 3100
     SALTZ IN SUPPORT OF PLAINTIFFS’                                     Seattle, WA 98104
     MOTION FOR AN ORDER TO
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 1   particular account holder’s own page. Like YouTube, Twitter maintains analytics on every tweet
 2   that a user posts. These analytics track “impressions”—meaning the amount of users that have
 3   interacted with the posted tweet. The analytics also includes data such as: how many times users
 4   engaged with a particular tweet by pressing on it or the picture of the tweet’s author to obtain
 5   more information about the author and his/her/its Twitter page; the number of “likes” users
 6   placed on a particular post; and the number of times a post has been “re-tweeted” (i.e., re-posted)
 7   by other users—including the identity of the users who re-tweeted said post.
 8          17.     Once a post or “tweet” is deleted, all of the analytics for that “tweet” are
 9   destroyed and cannot be subsequently retrieved.
10          I declare under penalty of perjury under the laws of the United States of America that the
11   forgoing is true and correct.
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13          SIGNED at Los Angeles, California, on November 4, 2020.
14
                                                          /s/ Michael J. Saltz
15                                                        Michael J. Saltz
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                                                       CARROLL, BIDDLE, & BILANKO, PLLC
     DECLARATION OF MICHAEL J.                                    1000 2nd Avenue, Suite 3100
     SALTZ IN SUPPORT OF PLAINTIFFS’                                  Seattle, WA 98104
     MOTION FOR AN ORDER TO
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     (2:20-CV-01606-TLF)
